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                     UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


 State of Florida, et al.,

          Plaintiffs,

          v.                              Case No. 8:22-cv-01981-TPB-JSS

 Food and Drug Administration, et al.,

          Defendants.

        Defendants’ Motion to Stay the Case as to Counts One and Four

    Florida seeks incompatible actions from FDA. For the Administrative

Procedure Act (“APA”) claim in this case, Florida requests that the Court order

Defendants “to immediately review” the State’s Section 804 Importation Plan

(“SIP”) proposal and “provide a determination.” Am. Compl., ECF No. 7, at p.

39. Yet in the underlying administrative process, Florida has told FDA that it is

“diligently preparing” and “will submit [] as soon as possible” materials to

resolve deficiencies in the State’s SIP proposal. AR 4617-19; see AR 4602–16. The
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State unfortunately has not responded to FDA’s further inquiry with specific

information regarding when these materials will be submitted. AR 4620.1

    This has left Defendants in a quandary: FDA cannot both rule on Florida’s

SIP proposal right now and await addenda to that proposal until a date

unknown. Defendants propose to cut this Gordian knot by moving to stay the

case as to the APA claim in Count One and the related request for relief in Count

Four until 60 days after the date on which Florida submits the forthcoming

addenda to its SIP proposal. This stay would respect Florida’s stated intention to

provide the requested materials and afford FDA the necessary time to review

those materials. At the conclusion of the stay period, FDA would provide the

Court with a status report about the anticipated decision-making timeline for

Florida’s updated SIP proposal.2

    “[T]he power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time


    1 On the day of this filing, Plaintiffs’ counsel informed Defense counsel that

Florida intends to submit the requested materials “quite soon,” but did not
provide any further specifics. Even if the submission were imminent, a stay
would still be warranted, most notably to allow FDA to review the newly
submitted materials, as Plaintiffs presumably would like the agency to do, before
providing a determination on Florida’s SIP proposal.
     2 Two important clarifications: Defendants do not propose to stay deadlines

relating to their compliance with Magistrate Judge Sneed’s discovery order of
March 17, 2023 or the briefing of Plaintiffs’ objections to and appeal of that order.
Also, the stay would not impact the Freedom of Information Act claims, which
are receiving special handling.
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and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S.

248, 254 (1936). “In determining whether to grant a stay, courts generally

examine three factors: (1) whether a stay will unduly prejudice or tactically

disadvantage the non-moving party; (2) whether a stay will simplify the issues

and streamline the trial; and (3) whether a stay will reduce the burden of

litigation on the parties and on the court.” Wright v. eXP Realty, LLC, No. 6:18-cv-

1851-ORL-TBS, 2019 WL 2411312, at *2 (M.D. Fla. June 7, 2019) (quoting Scoma

Chiropractic, P.A. v. Dental Equities, LLC, No. 2:16-cv-41-FTM-99MRM, 2018 WL

2455301, at *2 (M.D. Fla. June 1, 2018)). Those factors decidedly favor a stay here.

    First, a stay would further Florida’s expressed interest in working

collaboratively with FDA about its SIP proposal. See AR 4619 (Secretary Weida

stating that Florida “wants to work amicably with the FDA”). To that end, the

State is “diligently preparing . . . materials in response to specific requests in”

FDA’s November 2022 request for information. AR 4617. By undertaking this

effort, Florida presumably wants FDA to review the resulting materials. FDA

certainly would prefer to do so before making a final decision on the proposal.

See AR 4620 (requesting that Florida “provide the date by which [it] expect[s] to

submit the [resulting] materials to FDA” and expressing that “FDA remains

committed to working with States such as Florida . . . that propose to develop

SIPs”). Thus, a stay would provide the parties with the time necessary to

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continue their engagement and allow FDA to make its ultimate decision with the

benefit of Florida’s forthcoming submission.

    Although a stay necessarily postpones adjudication of the unreasonable

delay claim, Florida will suffer no undue prejudice. The proposed stay is pegged

to the date on which the State submits its promised response, which it has been

“diligently preparing” for nearly five months. AR 4617. In other words, Florida’s

own conduct can impact the length of the stay. And the proposed stay would not

bring the entire case to a halt. Defendants will comply with Judge Sneed’s March

17, 2023 discovery order, as well as continue their review and production of

responsive records on the FOIA claims. Accordingly, FDA believes any potential

prejudice from this stay is more than offset by the benefits to the underlying

administrative process of respecting Florida’s stated intention to submit further

materials and allowing FDA to assess these newly produced materials.

    Second, more than streamlining the issues that need to be litigated, a stay

creates opportunity for FDA to provide Florida with the very relief it seeks

through litigation — a ruling on its SIP proposal —after the agency has had the

opportunity to review the new materials Florida intends to submit. See Am.

Compl., ECF No. 7, at p. 39. On the State’s unreasonable delay claim, the Court

could, at most, “compel the agency to act,” i.e., rule on the proposal, “but has no

power to specify what the action must be.” Norton v. S. Utah Wilderness All., 542

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U.S. 55, 65 (2004). Thus, the claim becomes moot once FDA issues a ruling. See

Sierra Club v. U.S. EPA, 315 F.3d 1295, 1299 (11th Cir. 2002) (“If events that occur

subsequent to the filing of a lawsuit or an appeal deprive the court of the ability

to give meaningful relief, then the case is moot and must be dismissed.”)

(quotation omitted). The requested stay sets the stage for the administrative

process to conclude—and the APA claim to become moot—organically rather

than prematurely by court order. See Jones v. Fiorella Ins. Agency, No. 20-CV-

14105, 2020 WL 3637377, at *2 (S.D. Fla. July 1, 2020) (finding that “the potential”

for event “to moot [plaintiff’s] entire cause of action” favors stay).

    Third and relatedly, a stay would substantially conserve judicial resources—

and the parties’ too—by allowing the administrative process to play out. See

Jones, 2020 WL 3637377, at *2 (“[D]istrict courts across the country have issued

orders staying proceedings to conserve judicial resources.”). This process may

well obviate any need for the parties to brief, much less the Court to decide, any

further disputes, including the forthcoming motions for summary judgment. See

Xiu Jin Lin v. McAleenan, No. 3:19-CV-00283, 2019 WL 5688299, at *12 (S.D.W. Va.

Oct. 7, 2019), report and recommendation adopted, No. CV 3:19-0283, 2019 WL

5688189 (S.D.W. Va. Nov. 1, 2019) (“[P]ressing forward with judicial review over

the application process while removal proceedings which may negate the basis




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for the application are pending would not be an effective use of judicial

resources.”).

    Accordingly, Defendants request that the Court order the following:

    (1) The case is stayed as to the APA claim in Count One and the related

       request for a declaratory judgment in Count Four until 60 days after the

       date on which Plaintiffs submit the forthcoming materials referenced in

       Secretary Weida’s February 6, 2023 letter sent in response to FDA’s

       November 16, 2022 request for information.

    (2) Plaintiffs shall file a notice on the docket when they have submitted these

       forthcoming materials.

    (3) Sixty days after Plaintiffs submit their response, Defendants shall file a

       status report about FDA’s review of Florida’s proposal and the

       anticipated timetable for a decision.



 April 7, 2023                                Respectfully submitted,

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                            Local Rule 3.01(g) Certification

    I certify that, on April 4-7, 2023, I conferred with Plaintiffs’ counsel by email

to discuss this motion. Plaintiffs oppose this motion and intend to file a written

response for the Court’s consideration.

    April 7, 2023                                   /s/ Kimberly R. Stephens
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